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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         [SOUTHERN DIVISION]

TIFFANY MCNEIL,

      Plaintiff,                                Case No. 17-cv-01085
v.
                                                Hon. Robert J. Jonker
LEWIS EASTMEAD, et al.,
      Defendants.
                                                                        ___/
EXCOLO LAW, PLLC                          PLUNKETT COONEY
Solomon M. Radner (P73653)                Michael S. Bogren (P34835)
Attorney for Plaintiff                    Attorney for Defendants Schoenauer,
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James E. Tamm (P38154)
Richard V. Stokan, Jr. (P61997)           Allan C. Vander Laan (P33893)
Attorneys for Defendant Eastmead          Bradley C. Yanalunas (P80528)
40701 Woodward Ave, Suite 105             Attorneys for Defendants Branch
Bloomfield Hills, MI 48304                County, Brauker, Nichols and
(248) 433-2000                            Waterbury
jetamm@odtlegal.com                       2851 Charlevoix Dr SE, Suite 237
                                          Grand Rapids, MI 49546
                                          avanderlaan@cmda-law.com
                                                                        ___/
                    AMENDED JOINT STATUS REPORT
      NOW COME the parties, by and through their respective counsel and

pursuant to this Honorable Court’s Order Setting Rule 16 Scheduling Conference




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and Scheduling Conference scheduled for May 22, 2018 at 4:00 p.m., submit the

following Joint Status Report.


      Appearing for the parties as counsel will be:

         •   Solomon M. Radner on behalf of the Plaintiff, Tiffany McNeil.

         •   Michael S. Bogren on behalf of the Defendants, Matthew Schoenauer,

             Suleiman Sumbal, Frederick Pyles, Scott Sergent and the City of

             Coldwater.

         •   James E. Tamm or Richard V. Stokan, Jr. on behalf of Defendant

             Lewis Eastmead.

         •   Allan Vander Laan or Bradley Yanalunas on behalf of Defendants

             Branch County, Travis Brauker, Austin Nichols and Eric Watterbury.

   1. JURISDICTION

             Jurisdiction is appropriate in the United States District Court, Western

      District of Michigan, Southern Division, and is uncontested. Jurisdiction is

      based on federal question as contemplated by 28 U.S.C. § 1331, which extends

      jurisdiction of all civil actions arising under the “constitution, laws and

      treaties of the United States” to federal courts. The federal law at issue in this

      instance is 42 U.S.C. § 1983, as alleged in Plaintiff’s Complaint.

   2. JURY OR NON-JURY

             This case is to be tried before a jury.
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 3. JUDICIAL AVAILABILITY

          The parties do not agree to have a United States Magistrate Judge

    conduct any and all further proceedings in the case, including trial, and to

    order the entry of final judgment.

 4. STATEMENT OF THE CASE

       A. PLAINTIFF’S POSITION

          This is a 42 U.S.C. § 1983 civil rights case involving several police

    officer Defendants who were acting under the color of law through their

    course of employment with the City of Coldwater. On July 24, 2017, Plaintiff

    was placed under arrest after a domestic incident at Plaintiff’s marital home,

    without incident, and was delivered to the Branch County Jail by Defendants

    for processing. Once in the sally port of the jail, Plaintiff, who was remained

    in handcuffs since being placed in them at her home during the time of the

    arrest, was placed face-first against the wall by Defendant Eastmead. After

    exchanging some words, Defendant Eastmead grabbed Plaintiff by the hair,

    spun her around, and slammed her to the concrete ground, face-first, without

    provocation. Eastmead continued to knee Plaintiff’s lifeless body several

    times in the back while she laid on the ground, unconscious, with blood

    pooling under her face. Plaintiff was not being combative or resisting in any

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    way prior to the take-down, and Defendant Eastmead used brutally excessive

    and completely unnecessary force against Plaintiff for no reason other than to

    intentionally inflict pain. The assault resulted in Plaintiff losing consciousness

    requiring hospitalization, and she suffered a large laceration near her eyebrow

    which required 20 stitches to close. The remaining Defendant officers failed

    to intervene and prevent such malicious misconduct. The municipality

    Defendant failed to implement policies to properly train, monitor and

    supervise its officers, to prevent such misconduct. Plaintiff’s five count

    Complaint sets for claims under 42 U.S.C. § 1983 and the Fourteenth

    Amendment for excessive use of force, unreasonable seizure, abuse of

    process/malicious prosecution, failure to intervene, and finally, a municipality

    liability claim under Monell.

       B. DEFENDANTS’ POSITION

          Defendant Eastmead:


          Defendant Lewis Eastmead relies upon his Answer and Affirmative

    Defenses to Plaintiff’s Complaint. Defendant Eastmead denies ever intending

    to violate any of Plaintiff’s constitutional or statutory rights and furthermore

    that Plaintiff’s constitutional and statutory rights were never violated.

    Defendant Eastmead further asserts that Plaintiff’s civil rights claims are


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    barred by qualified immunity and her state law claims are barred by

    governmental immunity.


          Defendants Coldwater, Schoenauer, Sumbal, Pyles and Sergent:


          The claims against the individual defendants Schoenauer, Sumbal,

    Pyles and Sergent fail as these defendants did not violate any of plaintiff’s

    constitutional rights, nor were any of their actions in violation of state law.

    The claim of failure to intervene fails as the defendants did not have any

    meaningful opportunity to intervene. The individual defendants are also

    entitled to dismissal on the basis of qualified immunity.


          The claims against the City of Coldwater fail as the plaintiff cannot

    prove any custom, policy or practice existed that was the proximate cause of

    any constitutional violation.


          Defendants Branch County, Brauker, Nichols and Waterbury:


          The claims against the individual defendants Brauker, Nichols and

    Waterbury fail as these defendants did not violate any of plaintiff’s

    constitutional rights, nor were any of their actions in violation of state law.

    The claim of failure to intervene fails as the defendants did not have any

    meaningful opportunity to intervene. The individual defendants are also

    entitled to dismissal on the basis of qualified immunity.
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              The claims against the County of Branch fail as the plaintiff cannot

    prove any custom, policy or practice existed that was the proximate cause of

    any constitutional violation.

 5. JOINDER OF PARTIES AND AMENDMENT OF PLEADINGS

              The parties expect to file all motions for joinder of parties to this

    action by April 1, 2018. The parties stipulate that Plaintiff may file an

    amended complaint by April 1, 2018.

 6. DISCLOSURES AND EXCHANGES

       (i)       Fed.R. Civ.P. 26(a)(1) disclosures shall be made by the parties by
                 May 30, 2018.

       (ii)      The Plaintiff expects to be able to furnish the names of his primary
                 expert witnesses by September 30, 2018; Defendants expect to be
                 able to furnish the names of their primary expert witnesses by
                 October 30, 2018; Rebuttal expert witnesses, if any, will be
                 provided to the opposing party by November 15, 2018.

       (iii)     It would be advisable in this case to exchange any written expert
                 witness reports as contemplated by Fed.R.Civ.P. 26(a)(2). Reports,
                 if required, should be exchanged as follows: Plaintiff to
                 Defendants 120 days before trial. Defendants to Plaintiff 90 days
                 before trial.

       (iv)      The parties have agreed to make available the following
                 documents without the need of a formal request for production: all
                 documents identified in Rule 26 disclosures.

 7. DISCOVERY

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    The parties believe that all discovery proceedings can be completed by
    December 15, 2018. The parties recommend the following discovery plan:

       (i)       The subjects on which discovery may be needed include liability,
                 damages, affirmative defenses, and all other issues that may arise
                 in the course of discovery.

       (ii)      Discovery need not be conducted in phases.

       (iii)     The limitations contained in Fed. R. Civ. P. 33(a)(1) should apply
                 to both interrogatories and requests for admission. limitations on
                 discovery are recommended by the parties at this time.

       (iv)      No modifications are necessary in this case regarding the time
                 limits for depositions (one day for seven hours).

 8. MOTIONS

              The parties acknowledge that W.D. Mich. L Civ R 7.1(d) requires the

    moving party to ascertain whether the motion will be opposed. All motions

    shall affirmatively state the efforts of the moving party to comply with the

    obligation created by Rule 7.1(d).

              The following dispositive motions are contemplated by each party:

    Motion for Summary Judgment.

              The parties anticipate that all dispositive motions will be filed by

    March 15, 2019.

 9. ALTERNATIVE DISPUTE RESOLUTION




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             The parties are agreeable to discussing voluntary non-binding

     facilitation, however, at this time it is Plaintiff’s view that alternative dispute

     resolution, arbitration, early facilitation/mediation and early Settlement

     Conference, are not in the best interest of the parties hereto. The Coldwater

     defendants disagree that early ADR is not in the parties’ best interest and

     suggest that early ADR is appropriate in this case.

  10. LENGTH OF TRIAL

             Counsel estimate the trial will last approximately four days total,

     allocated as follows: two days for Plaintiff’s case, two days for Defendant’s

     case.

  11. PROSPECTS OF SETTLEMENT

             The parties have not yet engaged in settlement negotiations to date.

  12. ELECTRONIC DOCUMENT FILING SYSTEM


             The parties acknowledge that Local Civil Rule 5.7(a) requires attorneys

     to file and serve all documents electronically by means of the Court’s

     CM/ECF filing system and will abide by the requirements of this rule.

                                              Respectfully Submitted,

                                              EXCOLO LAW, PLLC

Dated: May 18, 2018                     By: /S/ Solomon M. Radner
                                            SOLOMON M. RADNER (P73653)
                                            Attorney for Plaintiff
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                       CERTIFICATE OF SERVICE

          I hereby affirm that on May 18, 2018, I caused the foregoing
    document to be filed electronically with the United States District Court
    and that a copy of document was served on all counsel of record through
    the Court’s CM/ECF system.
                              /s/ Solomon M. Radner
                              Solomon M. Radner (P73653)




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